Case 1:05-cr-10028-.]DT Document 13 Filed 04/21/05 Page 1 of 2 Page|D 12

IN THE UNITED STATES DISTRICT COURT w m
FOR THE WESTERN DISTRICT OF TENNESSEE ;' ;§5`:? »:;' _ !-"f-i'i "~‘" "-- "1
WESTERN DIVISION

 

 

UNITED STATES OF AMERICA

V.

SHENA MARIE GREER No. 05cr10028-T

 

ORDER SPECIFYING PERIOD OF EXCLUDABLE DELAY
UNDER THE SPEEDY TRIAL ACT

 

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This cause came on for an Arraignrnent on, h g 262 ?£@ . At

this time, the defendant Was not present The defense Counsel motion for a
Continuance of the arraignment The Court granted the request and reset the
Arraignrnent date .

It is therefore ORDERED that the tirne period
of {4///26/05 through j//Z/ 7//6’5 is excludable pursuant
to the Speedy Trial Act, as set out in 18 U.S.C. § 3161 (h)(?))(A).

ARRAIGNMENT is reset to Wednesday, April 27, 2005 at 9:30 a.rn.

before Magistrate ]udge Tu M. Pham.

rhis ZQ day Of _::`:\ ,2005

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Mp’a"CeUNITED sTATEs MAGISTRATE ]UDGE \{§

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Honorable J ames Todd
US DISTRICT COURT

